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                      IN THE UNITED STATES DISTRICT COURTCIS
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                    FOR THE EASTERN THE DISTRICT OF VIRGINIA·~"""""""~=Al:1-.:..L:;.,I....~

                                       Ale-xandria Division


 UNITED STATES OF AMERICA                      )      UNDER SEAL
                                               )
        v.                                    )       Criminal No.: 1:18-CR-89
                                              )
 JERRY CHUN SHING LEE,                        )
                                              )
                                              )
                        Defendant.            )

                                              ORDER
        (U) This matter is before the Court on the the Defendant's Third, Fourth, Fifth, Sixth,

 and Seventh Notices of Intent to Disclose Classified Information, as well as the government's

 Objections to those Notices. The Notices and Objections were filed In Camera and Under Seal

 pursuant to the Classified Information Procedures Act ("CIP A"), 18 U.S.C. App. III. The parties

 met, conferred, and reached ce1tain agreements regarding the classified infonnation at issue. For

 good cause shown, after considering the nature of the information in question, the documentary

 evidence and anticipated testimony to be presented at trial, the charges against the defendant, any

 possible defenses the1:eto, and the arguments of the parties) the Court hereby GRANTS, in pait.

the government's Motion to exclude the classified information resolved herein.

        (U) The Comt finds that the classified information referenced in the defendant's Notices

 implicates the government's classified information privilege because the information is properly

 classified and its disclosure could cause serious, and in some cases exceptionally grave, damage

to the national secmity of the United States. The Court fi11ds that none of the classified

 info1mation addressed herein is exculpatory. See Brady v. Marylandi 373 U.S. 83 (1963).
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         (U) Additionally, the Court finds that the "relevant and helpful" standard articulated in

 United States v. Roviam, 353 U.S. 53 (1957), and United States v. Yunis, 867 F.2d 617 (D.C.

 Cir. 1989), is the appropriate standard by which to analyze whether the defendant may publicly

 disclose classified evidence in his defense where, as here, the government has properly invoked

 the classified information privilege. See United States v. Sarkissian, 841 F.2d 959 (9th Cir.

 1988); United States v. Smith, 780 F.2d 1102, 11 IO (4th Cir. 1985). To this end, the Couit:finds

 that in applying the Roviaro/Yunis standard, some of the classified information resolved by this

 Order is not relevant aud helpful to the defense. As for the remainder, the Comt finds that the

 substitutions herein made by the government and approved by the defendant are appropriate

 because they "pl'Ovide the defendant with substantially the same ability to make his defense as

 would disclosw:e of the specified classified info1mation," 18 U.S.C. App. III§ 6(c); ~ Smith,

 780 F.2d at 1105.

                         Item 46 - The scope of surveillance used by the government in the

 course of the investigation of the defendant - The patties agl'eed on the following summary as to

 the scope of surveillance employed by law enforcement:
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                                    REDACTED/ Cl.EARED FOR PUBLIC RELEASE



                   Item 53 ~~----~[Transcript'-!--------'~etwecn Jerry Lee and

~---~I- The parties have reached agre_ement on an unclassified version of the document.
 The unclassified version of the transcript protects
                                                       ~====-=--=--=--=--=---=---=--~------_J
                  -Item 54   -I           ~ranscriptj                     ~etween Jerry Lee and□

CJ-          The parties have reached agreement on an unclassified version of the document. The

 unclassified version of the transcript prote~ts]




           (U) Accordingly) it is ORDERED that the classified information resolved by this Order,

 as specified above, is inadmissible for the reasons set forth in this order, as required by CIPA

 Sections 6(a) and 6(c); it is furthet

           (U) ORDERED that the defendant, his counsel, his representatives, and his witnesses

 (collective1y, the "defendant"), are precluded from disclosing the classified information resolved

 by the Order in any manner in connection with any trial or pretJ:ial proceeding in this case,

 whether directly, indirectly, or derivatively, as documentary exhibits or oral testimony or jury

 addresses, including introducing, eliciting, posing hypotheticals concerning> releasing,

 speculating about the nature of, direct~ or cross-examining witnesses about, publicly commenting

 on. creating or using exhibits containing, or othei:wise referencing classified infonnation; it is

 ftuther

           (U) ORDERED that with respect to any info1mation that the government has produced

 in an unclassified, redacted version, the defendant is ptohibited from disclosing, introducing,
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 eliciting, posing hypotheticals concerning, releasing, speculating about the nature of, direct- or

 cross-examining witnesses about, publicly commenting on, creating or using exhibits containing,

 or otherwlse referencing classified information beyond the specific language in the Wlclassified

 versions of the documents, in any manner in connection with any trial or pretrial proceedings in

 this case, it is further

          (U) ORDERED that the defendant's Thitd, Fourth, Fifth, Sixth, and Seventh Notices of

 Intent to Disclose Classified Info1mation, as well as the govemmenfs Objections and Responses

 to those Notices. and the defendant's Replies thereto, and accompanying Declarations and

 exhibits, and this Order shall be sealed and maintained in a facility appropriate for the storage of

 such classified information by the Classified Information Security Officer as the designee of the

 Clerk of Court, in accordance with established security procedures, for any future review, until

 further order of this Comt.

         (U) With respect to the document known as the '1'-------'~ocument,» the gove~ent

 proposes to use the silent witness rule with respect to seveml entries. The defense does not ·

 object to this particular use of the silent witness rule. Accordingly, it is hereby ORDERED that

 with respect to the final three entries on the document the direct testimony ru1d cross examination

 shall not elicit/
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        (U) The Comt finds that these protections serve an important governmental interest in

 protecting classifie

                                                    Moreover} there is no reasonable altemative to

 the use of the silent witness rnle with respect to these three entries, and its use does not inhibit

 the defendant from presenting a defense or cross-examining witnesses.




 (U) IT IS SO ORDERED, on this /        2~ay o f _ ~ ~


                                                        T. S. EL     III
                                                        UNITED STAT S DISTRICT JUDGE


        Copies via Classified Information Security Officer to:

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